              Case 24-40158-NGH                   Doc 1     Filed 04/02/24 Entered 04/02/24 12:25:10                             Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF IDAHO

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Millenkamp Cattle, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  471 N 300 Rd W
                                  Jerome, ID 83338
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Jerome                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Millenkamp Cattle, Inc.                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                1121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                When                                Case number
                                                 District                                When                                Case number




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Debtor    Millenkamp Cattle, Inc.                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Attachment                                               Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                                                   471 N 300 Rd W
                                                  Where is the property?           Jerome, ID, 83338-0000
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency    Penn Millers Insurance Company
                                                               Contact name
                                                               Phone               800-233-8347


          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


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         Name


16. Estimated liabilities     $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                              $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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Debtor     Millenkamp Cattle, Inc.                                                          Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF IDAHO

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Black Pine Cattle LLC                                                   Relationship to you
District                                              When                         Case number, if known
Debtor     East Valley Cattle, LLC                                                 Relationship to you
District                                              When                         Case number, if known
Debtor     Goose Ranch LLC                                                         Relationship to you
District                                              When                         Case number, if known
Debtor     Idaho Jersey Girls Jerome Dairy LLC                                     Relationship to you
District                                              When                         Case number, if known
Debtor     Idaho Jersey Girls LLC                                                  Relationship to you
District                                              When                         Case number, if known
Debtor     Millenkamp Properties II LLC                                            Relationship to you
District                                              When                         Case number, if known
Debtor     Millenkamp Properties, L.L.C.                                           Relationship to you
District                                              When                         Case number, if known




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Fill in this information to identify the case:
Debtor name Millenkamp Cattle, Inc.
United States Bankruptcy Court for the: DISTRICT OF IDAHO                                                                               Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
BUNGE Canada                                        Trade Debt                                                                                              $1,145,983.84
2765 Solution
Center
Chicago, IL 60677
Cargill Meat                                        Trade Debt                                                                                                $600,702.66
Solutions Corp
5252 Treasure
Valley Way
Nampa, ID 83687
Clear Lakes                                         Trade Debt                                                                                                $560,365.35
Products
PO Box 246
Buhl, ID 83316
Eagle View Farms                                    Trade Debt                                                                                                $559,656.97
970 E 3700 N
Castleford, ID 83321
East Valley                                         Trade Debt                                                                                              $2,156,089.13
Development, LLC
Attn: General
Counsel
4675 MacArthur Ct.,
Ste. 800
Newport Beach, CA
92660
Ed & Matt                                           Trade Debt                                                                                                $706,083.60
Chojnacky
298 N. 100 W
Jerome, ID 83338
Grant & Hagan, Inc.                                 Trade debt                                                                                                $604,551.60
PO Box 326
Hazelton, ID 83335
Hollifield Ranches,                                 Trade debt                                                                                              $2,044,794.31
Inc.
22866 Hwy 30
Hansen, ID 83334




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     Millenkamp Cattle, Inc.                                                                  Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
J.D. Heiskell & Co.                                 Trade debt                                                                                                $598,407.90
139 River Vista
Place
Ste 102
Twin Falls, ID 83301
Jack Verbree Dairies                                Trade Debt                                                                                                $854,345.31
1574 E 2900 S
Wendell, ID 83355
Landview Inc -                                      Trade debt                                                                                              $5,541,024.72
Livestock
PO Box 475
Rupert, ID 83350
Metropolitan Life                                   Various personal                                $180,473,929.72 $150,000,000.00                       $30,473,929.72
Ins. Co.                                            property of the
10801 Mastin Blvd,                                  Debtor
Ste. 930
Overland Park, KS
66210
Metropolitan Tower                                  Various personal                                $180,473,929.72 $150,000,000.00                       $30,473,929.72
Life Ins.                                           property of the
205 East River Park                                 Debtor
Circle
Suite 430
Fresno, CA 93720
MWI Veterinary                                      Trade debt for                                                                                          $2,309,920.39
3041 W Pasadena Dr                                  Black Pine Cattle,
Boise, ID 83705                                     Inc., Idaho Jersey
                                                    Girls Jerome
                                                    Dairy LLC, Idaho
                                                    Jersey Girls LLC
                                                    (Milkers), and
                                                    Millenkamp Cattle
                                                    Inc
Prime Ridge Beef,                                   Trade Debt                                                                                              $1,180,715.80
LLC
8143 W Broadway
St.
Idaho Falls, ID 83402
Receptor Food                                       Trade debt                                                                                                $867,772.00
Group
PO Box 475
Rupert, ID 83350
Rocky Mountain                                      Trade debt                                                                                                $694,888.94
Agronomics
1912 W Main
Burley, ID 83318
Triple C Farms,                                     Trade debt                                                                                              $1,000,195.27
L.L.C.
474 S. 500 W
Jerome, ID 83338




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     Millenkamp Cattle, Inc.                                                                  Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
True West Beef                                      Trade Debt                                                                                                $580,740.96
6026 US-93
Jerome, ID 83338
Viterra Grain LLC                                   Trade debt                                                                                              $1,128,769.71
1111 Bedke Blvd
Burley, ID 83318




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                        116 West
                        805 W Idaho St
                        Ste 300
                        Boise, ID 83702



                        2020 Window Service
                        PO Box 6056
                        Twin Falls, ID 83303



                        A K Trucking
                        1897 E 990 S
                        Hazelton, ID 83335



                        A. Scott Jackson Trucking
                        PO Box 56
                        Jerome, ID 83338



                        A. Scott JacksonTrucking Inc
                        PO Box 56
                        Jerome, ID 83338



                        A.M.I. Supply Inc
                        PO Box 1145
                        Burley, ID 83318



                        ABS Global Inc
                        Box 22144 Network Place
                        Chicago, IL 60673-1221



                        Aden Brook Trading Corp
                        PO Box 217
                        Montgomery, NY 12549



                        ADM Animal Nutrition
                        75 Remittance Dr
                        Ste #1365
                        Chicago, IL 60675
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                    Advantage Signs Banners
                    488 Blue Lakes Blvd. N
                    Ste 10
                    Twin Falls, ID 83301



                    Ag Funding SC II LLC
                    5465 Mills Civic Pkwy
                    Suite 201
                    West Des Moines, IA 50266



                    Ag-Rows, Inc
                    321 S Hwy 27
                    Burley, ID 83318



                    Agri-Service, Inc.
                    300 Agri-Service Way
                    Kimberly, ID 83341



                    Ah-Zet Dairy
                    970 E 3700 N
                    Castleford, ID 83321



                    Al-Mar Dairy
                    1255 Grandview Ave
                    Parma, ID 83660



                    Alexander K. Reed
                    4296 N 2100 E
                    Filer, ID 83328



                    ALL PRO LINEN INC
                    500 East 10th St
                    Burley, ID 83318



                    All Wireless Communications
                    1112 Oakley Ave
                    Burley, ID 83318
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                    Allegiance Dairy Services
                    111 Overland Ave
                    Burley, ID 83318



                    AllFlex USA
                    PO Box 848533
                    Dallas, TX 75284



                    AlphaGraphics
                    1680 Bentley Way
                    Idaho Falls, ID 83401



                    American Calf Products
                    PO Box 3046
                    Turlock, CA 95381



                    American Construction
                    195 Eastland
                    Twin Falls, ID 83301



                    American Express
                    Box 0001
                    Los Angeles, CA 90096



                    Aquabest, LLC
                    1414 Valencia St
                    Twin Falls, ID 83301



                    Ardurra Group
                    2471 S. Titanium PL
                    Meridian, ID 83642



                    Arlene's Flower Garden Inc.
                    900 South Lincoln
                    Jerome, ID 83338
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                    ATC Communications
                    PO Box 98
                    Albion, ID 83311



                    Automated Dairy Systems
                    PO Box 170
                    1575 S Lincoln
                    Jerome, ID 83338



                    Automation Werx, LLC
                    PO Box 3066
                    Idaho Falls, ID 83403



                    B H Farming
                    PO Box 123
                    Rupert, ID 83350



                    B N Machine
                    375 American Ave
                    Jerome, ID 83338



                    B A Farms/Bo Stevenson
                    1001 S 1900 E
                    Hazelton, ID 83335



                    Badger Bearing PTP, Inc
                    230 W 20 S
                    Burley, ID 83318



                    Barclay Mechanical Services
                    PO Box 360
                    490 W 100 S
                    Paul, ID 83347



                    Beams Flooring
                    1475 Elm Street N
                    Twin Falls, ID 83301
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                    Bear Necessities Prtbl Rstrm
                    PO Box 1952
                    Twin Falls, ID 83303



                    Bedmaster, Inc
                    599 N 3400 E
                    Lewisville, ID 83431



                    Bills Sewer and Drain Srvc
                    PO Box 5759
                    Twin Falls, ID 83303



                    Bison Pipe and Supply
                    PO Box 258
                    Jerome, ID 83338



                    Black Cat Dairy
                    5655 S Black Cat Rd
                    Meridian, ID 83642



                    Black Eagle Construction LLC
                    PO Box 562
                    Meridian, ID 83680



                    Black Pine Construction, LLC
                    1100 E 1000 S
                    Albion, ID 83311



                    BLN Huettig Farms
                    1247 S. 2000 E.
                    Hazelton, ID 83335



                    Blue Cross of Idaho
                    PO Box 6948
                    Boise, ID 83707
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                    BMO Bank NA
                    PO Box 660310
                    Sacramento, CA 95866-0310



                    Bo Stevenson
                    1001 S 1900 E
                    Hazelton, ID 83335



                    Boyce Equipment Parts Co,Inc
                    2893 S American Way
                    Ogden, UT 84401



                    Brandi Ann M Bartholomew




                    Brett Jensen Farms
                    2000 W 113 N
                    Idaho Falls, ID 83402



                    Bruce Farms
                    388 Wells Ave.
                    Felt, ID 83424



                    BUNGE Canada
                    2765 Solution Center
                    Chicago, IL 60677



                    Burks Tractor Company
                    3140 Kimberly Rd.
                    Twin Falls, ID 83301



                    Burks Tractor Company, Inc.
                    3140 Kimberly Rd.
                    Twin Falls, ID 83301
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                    Business Techs
                    502 Main Ave S
                    Twin Falls, ID 83301



                    Butte Irrigation Inc
                    PO Box 790
                    Paul, ID 83347



                    Cargill Meat Solutions Corp
                    5252 Treasure Valley Way
                    Nampa, ID 83687



                    Carne I Corp.
                    134 E Highway 81
                    Burley, ID 83318



                    Cassia County Tax Collector
                    1459 Overland Ave
                    Rm 102
                    Burley, ID 83318



                    Caterpillar Financial Svcs.
                    2120 West End Avenue
                    Nashville, TN 37203



                    Century Link 2041
                    PO Box 2961
                    Phoenix, AZ 85062-2961



                    CenturyLink
                    PO Box 2956
                    Phoenix, AZ 85062-2956



                    Christine E. Deal
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                    Ciocca Dairy
                    1674 E 2900 S
                    Wendell, ID 83355



                    Circle C Equipment
                    23 N 150 W
                    Jerome, ID 83338



                    Clear Lakes Products
                    PO Box 246
                    Buhl, ID 83316



                    Clear Water Products LLC
                    1834 1st Ave
                    Greeley, CO 80631



                    Clint D. Thompson
                    298 North 200 West
                    Jerome, ID 83338



                    Clint Thompson
                    298 North 200 West
                    Jerome, ID 83338



                    CNH Industrial Capital
                    500 Diller Ave.
                    New Holland, PA 17557



                    CNH Industrial Capital
                    PO Box 71264
                    Philadelphia, PA 19176-6264



                    CNH Industrial Retail Accts.
                    PO Box 71264
                    Philadelphia, PA 19176-6264
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                    CNH Productivity Plus BP
                    PO Box 71264
                    Philadelphia, PA 19176-6264



                    CNH Productivity Plus MC
                    PO Box 71264
                    Philadelphia, PA 19176-6264



                    Coastline Equipment
                    2000E Overland Rd
                    Meridian, ID 83642



                    Coastline Equipment
                    26 E 300 S
                    Jerome, ID 83338



                    Coastline Equipment Co.
                    26 E 300 S
                    Jerome, ID 83338



                    Commnty True Value Bldg Sply
                    PO Box 29
                    Murtaugh, ID 83344



                    Commodities Plus
                    5207 E 3rd Ave
                    Spokane, WA 99212



                    Conterra Agricultural Cap.
                    5465 Mills Civic Pkwy
                    Suite 201
                    West Des Moines, IA 50266



                    Cook Pest Control
                    PO Box 532
                    Twin Falls, ID 83303
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                    Culligan
                    1230 Cheney Drive
                    Twin Falls, ID 83301



                    D B Supply
                    3303 E Linden
                    Caldwell, ID 83605



                    Daimler Truck Financial Svcs
                    14372 Heritage Pkwy
                    Suite 400
                    Fort Worth, TX 76177



                    Dairy Tech Inc.
                    PO Box 250
                    Severance, CO 80546



                    Daniels Manufacturing Co.
                    PO Box 67
                    Ainsworth, NE 69210



                    Darling Ingredients
                    PO Box 554885
                    Detroit, MI 48255-4885



                    Darrington Brothers Ag
                    2740 Mt Harrison Dr
                    Burley, ID 83318



                    David A. Coleman
                    PO Box 525
                    Twin Falls, ID 83303-0525



                    David Clark DVM
                    PO Box 452
                    Albion, ID 83311
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                    David Clark MWI
                    PO Box 452
                    Albion, ID 83311



                    David Shirley
                    PO Box 910
                    Burley, ID 83318-0910



                    Deere Company
                    6400 NW 86th St.
                    Johnston, IA 50131



                    deJong Dairy
                    127 W 400 S
                    Jerome, ID 83338



                    Department of the Treasury
                    Internal Revenue Service
                    Ogden, UT 84201-0038



                    DHI Provo
                    1525 West 820 North
                    Provo, UT 84601



                    Diamond B Dairy
                    2169 E 3200 S
                    Wendell, ID 83355



                    Diesel Depot
                    PO Box 730
                    Aberdeen, ID 83210



                    DMR Supplies
                    6701 Parkway Circle
                    Ste 102
                    Minneapolis, MN 55430
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                    Double V LLC
                    1587 E 3100 S
                    Wendell, ID 83355



                    Douglas J Grant
                    2050 E 500 S
                    Hazelton, ID 83335



                    Driscoll Brothers
                    2043 E Center
                    Pocatello, ID 83201



                    Dusty Brow Farms
                    2601 E 1100 S
                    Hazelton, ID 83335-6235



                    Dusty Brow Farms, Inc.
                    2601 E 1100 S
                    Hazelton, ID 83335-6235



                    Eagle View East
                    970 E 3700 N
                    Castleford, ID 83321



                    Eagle View Farms
                    970 E 3700 N
                    Castleford, ID 83321



                    East Valley Development, LLC
                    Attn: General Counsel
                    4675 MacArthur Ct., Ste. 800
                    Newport Beach, CA 92660



                    Ed Matt Chojnacky
                    298 N. 100 W
                    Jerome, ID 83338
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                    Ed Chojnacky
                    298 N. 100 W
                    Jerome, ID 83338



                    Eide Bailly LLP
                    1505 Madrona St N
                    #800
                    Twin Falls, ID 83301



                    Electrical Werx Construction
                    PO Box 3066
                    Idaho Falls, ID 83401



                    Element Heating and Cooling
                    347 Locust St
                    Twin Falls, ID 83301



                    Elevation Electric
                    485 S Idaho St
                    Wendell, ID 83355



                    Evans Plumbing
                    111 Gulf Stream Lane
                    Hailey, ID 83333



                    Farmers Bank
                    PO Box 505
                    Jerome, ID 83338



                    Farmers Bank
                    1441 South Lincoln
                    Jerome, ID 83338



                    Farmore
                    642 Farmore Rd
                    Jerome, ID 83338
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                    Ferguson Enterprises, Inc
                    PO Box 847411
                    Dallas, TX 75284-7411



                    Fletcher Law Office
                    PO Box 248
                    Burley, ID 83318-0248



                    Floyd Lilly Company Inc
                    PO Box 461
                    353 3rd Ave S
                    Twin Falls, ID 83303



                    Franklin Building Supply
                    1390 Highland Ave E
                    Twin Falls, ID 83301



                    Fred Kenyon Repair
                    141 Bridon Way
                    Jerome, ID 83338



                    G.J. Verti-line Pumps Inc
                    1970 Highland Ave E
                    PO Box 892
                    Twin Falls, ID 83303



                    Galeno's Trucking
                    561 E Ellis St
                    Paul, ID 83347



                    Garner Farms
                    147 South 2550 East
                    Declo, ID 83323



                    Gem State Paper Supply
                    PO Box 469
                    Twin Falls, ID 83303
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                    Gem State Welders Supply Inc
                    1440 Kimberly Rd
                    Twin Falls, ID 83303



                    Givens Pursely LLP
                    PO Box 2720
                    Boise, ID 83701



                    Grainger
                    PO Box 419267
                    Kansas City, MO 64141-6267



                    Grant Hagan, Inc.
                    PO Box 326
                    Hazelton, ID 83335



                    Grant 4-D Farms, LLC
                    707 E 600 N
                    Rupert, ID 83350



                    GreatAmerica Financial Serv.
                    PO Box 660831
                    Dallas, TX 75266-0831



                    Green Source Automation
                    3506 Moore Rd
                    Ceres, CA 95307



                    H M Custom, LLC
                    PO Box 722
                    Burley, ID 83318



                    H.D. Fowler Company
                    PO Box 84368
                    Seattle, WA 98124-5668
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                    Harper Family Partnership
                    2045 E 850 S
                    Declo, ID 83323



                    Healthy Earth EnterprisesLLC
                    76 N 400 W
                    Jerome, ID 83338



                    Heeringa Construction, LLC
                    18521 E Queen Creek Rd
                    #105-481
                    Queen Creek, AZ 85142



                    Heglar Creek Dairy
                    41 N Yale Rd.
                    Declo, ID 83323



                    High Desert Dairy Lab, Inc
                    5311 Ridgewood
                    Nampa, ID 83687



                    Holesinksky Farms LLC
                    PO Box 246
                    Buhl, ID 83316



                    Hollifield Ranches, Inc.
                    22866 Hwy 30
                    Hansen, ID 83334



                    HP IFS
                    Great America Financial
                    PO Box 660831
                    Dallas, TX 75266-0831



                    Hub City Building, Inc
                    PO Box 38
                    163 S Idaho
                    Wendell, ID 83355
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                    IBA Magic Valley Dairy Systm
                    122 West 465 South



                    Idaho Hydro Jetting Inc
                    PO Box 468
                    Jerome, ID 83338



                    Idaho Materials Construction
                    1310 Addison Ave W
                    Twin Falls, ID 83301



                    Idaho Power
                    PO Box 6062
                    Boise, ID 83707-6062



                    Idaho State Brand Department
                    PO Box 2927
                    Twin Falls, ID 83303



                    Idaho State Tax Commission
                    PO Box 36
                    Boise, ID 83707



                    Idaho Udder Health Systems
                    PC 4455
                    S Meridian Rd
                    Meridian, ID 83642



                    Indust Electric Motor Srvc
                    PO Box 1912
                    Twin Falls, ID 83303



                    Integrated Technologies
                    PO Box 1843
                    Twin Falls, ID 83303
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                    Intermountain Gas HQ
                    555 S Cle Rd.
                    Boise, ID 83709



                    Intermountain WorkMed
                    PO Box 30180
                    Salt Lake City, UT 84130-0180



                    Interstate Advanced Material
                    PO Box 888094
                    Los Angeles, CA 90088-8094



                    Irace Construction LLC
                    1726 E 4500 N
                    Buhl, ID 83316



                    J C Hoof Trimming Inc
                    3690 N 2570 E
                    Twin Falls, ID 83301



                    J V Dairy
                    602 W 620 N.
                    Shoshone, ID 83352



                    J.D. Heiskell Co.
                    139 River Vista Place
                    Ste 102
                    Twin Falls, ID 83301



                    Jack Verbree Dairies
                    1574 E 2900 S
                    Wendell, ID 83355



                    Jackson Group Peterbilt
                    PO Box 2208
                    Decatur, AL 35609-2208
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                    Jae Foundation
                    1881 Pole Line Rd E
                    Twin Falls, ID 83301



                    James Farrell Company
                    PO Box 94583
                    Seattle, WA 98104



                    Jean L. Thompson
                    255 North 250 West
                    Jerome, ID 83338



                    Jeffrey E. Rolig
                    PO Box 5455
                    Twin Falls, ID 83303-5455



                    JF Farms Inc
                    1879 Shoestring Rd
                    Gooding, ID 83330



                    John Deere Const. Forestry
                    One John Deere Place
                    Moline, IL 61265



                    John Deere Financial
                    PO Box 4450
                    Carol Stream, IL 60197-4450



                    John Deere Financial
                    6400 NW 86th St
                    PO Box 6630
                    Johnston, IA 50131



                    John O'Brien
                    Spencer Fane LLP
                    1700 N. Lincoln - Ste. 2000
                    Denver, CO 80203-4554
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                    John Sprattling
                    550 Terrace Dr
                    Burley, ID 83318



                    Kander LLC
                    c/o Natalia Sirju
                    2538 Carrolwood Rd
                    Naperville, IL 60540



                    Ken Jean Thompson
                    255 N 250 W
                    Jerome, ID 83338



                    Kentworth Sales Company
                    Dept #1
                    PO Box 27088
                    Salt Lake City, UT 84127-0088



                    Kinetico of Magic Valley
                    201 Nevada St E
                    Twin Falls, ID 83301



                    Kody Youree
                    3953 N 3300 E
                    Twin Falls, ID 83301



                    Kraus Farms, LLC
                    165 S 400 W
                    Rupert, ID 83350



                    Kyle Hoskins
                    325 6th Ave. W #A
                    Jerome, ID 83338



                    Landview Inc - Industrial
                    PO Box 475
                    Rupert, ID 83350
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                    Landview Inc - Livestock
                    PO Box 475
                    Rupert, ID 83350



                    Laser Line
                    PO Box 2412
                    Twin Falls, ID 83303



                    Lee's Radiator
                    550 West Main
                    Jerome, ID 83338



                    Leedstone
                    222 Co Rd 173 SE
                    Melrose, MN 56352



                    Leonard Petroleum Equipmnt
                    PO Box 1924
                    1859 Highland Ave E
                    Twin Falls, ID 83303



                    Les Schwab Tire Center - BP
                    2555 S Overland
                    Burley, ID 83318



                    Les Schwab Tire Center - MC
                    1848 S Lincoln
                    Jerome, ID 83338



                    Liberty Basin LLC
                    134 E Highway 81
                    Burley, ID 83318



                    Llanos Trucking LLC
                    84 S 200 W
                    Burley, ID 83318
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                    M M Designs
                    32 E 400 N
                    Jerome, ID 83338



                    Macrae Custom Farming, Inc
                    355 S 950 W
                    Heyburn, ID 83336



                    Magaw Industries
                    5461 US Hwy 93
                    Jerome, ID 83338



                    Magic Valley Equipment Inc
                    517 East Ellis
                    PO Box 746
                    Paul, ID 83347



                    Magic Valley Hydraulics Repr
                    76 N 400 W
                    Jerome, ID 83338



                    Magic Valley Pipe        Steel
                    04 N 150
                    Jerome, ID 83338



                    Mavrix, LLC
                    925 Main St., Ste. 300-18
                    Stone Mountain, GA 30083-3098



                    McAlvain Concrete, Inc.
                    5559 W Gowen Rd #100
                    Boise, ID 83709



                    McCall Industrial Supply
                    PO Box 15427
                    Boise, ID 83715
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                    Mercedes-Benz Financial Svcs
                    PO Box 279274
                    Sacramento, CA 95827-9274



                    MetLife Agricultural Finance
                    10801 Mastin Blvd
                    Ste 930
                    Overland Park, KS 66210



                    MetLife Real Estate Lending
                    10801 Mastin Blvd., Ste. 930
                    Overland Park, KS 66210



                    Metropolitan Life Ins. Co.
                    10801 Mastin Blvd, Ste. 930
                    Overland Park, KS 66210



                    Metropolitan Tower Life Ins.
                    205 East River Park Circle
                    Suite 430
                    Fresno, CA 93720



                    Michael Chojnacky
                    51 W 600 N.
                    Jerome, ID 83338



                    MicroProteins
                    8019 W Buckskin
                    Pocatello, ID 83201



                    Mike Chojnacky
                    51 W 600 N
                    Jerome, ID 83338



                    Mike Winmill Construction
                    410 5th Ave E
                    Wendell, ID 83355
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                    Milner Hay Co.
                    1154 W 200 S
                    Jerome, ID 83338



                    Milner Hay Company, LLC
                    1154 W 200 S
                    Jerome, ID 83338



                    Minidoka Irrigation District
                    98 W 50 S
                    Rupert, ID 83350



                    Minidoka Memorial Hospital
                    ATTN: Amy - Business Office
                    1224 8th St
                    Rupert, ID 83350-1527



                    Mitch's Repair, Inc
                    148 Frontage Rd
                    Jerome, ID 83338



                    Mobile Modular Mgmt Corp
                    PO Box 45043
                    San Francisco, CA 94145



                    Moss Grain Partnership
                    301 Scott Ave., Ste. 4
                    Rupert, ID 83350



                    Moss Grain Partnership
                    301 Scott Ave.
                    Ste 4
                    Rupert, ID 83350



                    MWI Veterinary
                    3041 W Pasadena Dr
                    Boise, ID 83705
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                    Napa Auto Parts
                    PO Box 1425
                    Twin Falls, ID 83303-1425



                    Narisco Perez




                    Nelsen Farms LLC
                    120 E 600 N
                    Jerome, ID 83338



                    Nelson Jameson, Inc
                    PO Box 1147
                    Marshfield, WI 54449



                    New Life Community Church
                    800 W Main St
                    Wendell, ID 83355



                    No View Dairy, LLC
                    3298 East 3600 North
                    Kimberly, ID 83341



                    Norco, Inc
                    PO Box 35144
                    Seattle, WA 98124-5144



                    North Side Canal Company
                    921 N Lincoln
                    Jerome, ID 83338



                    Northwest Seed, Inc.
                    PO Box 65
                    Hazelton, ID 83335
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                    Novoa Trucking
                    1751 Occidental Ave
                    Burley, ID 83318



                    Oppedyk Dairy
                    PO Box 399
                    Mountain Home, ID 83647



                    Pacific Steel Recycling
                    PO Box 1413
                    Twin Falls, ID 83303-1413



                    Penn Millers Insurance Co
                    c/o Chubb Agribusiness
                    PO Box 62453
                    Baltimore, MD 21264-2453



                    Performance Plus Idaho LLC
                    S 500 E
                    Jerome, ID 83338



                    Performance Plus-Idaho, LLC
                    314 5500 E
                    Jerome, ID 83338



                    Performix Nutrition Systems
                    2201 N. 20th Street
                    Nampa, ID 83687



                    Pitney Bowes
                    PO Box 981026
                    Boston, MA 02298-1022



                    Platt
                    PO Box 418759
                    Boston, MA 02241-8759
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                    Prime Ridge Beef, LLC
                    8143 W Broadway St.
                    Idaho Falls, ID 83402



                    Prime Time, Inc
                    6730 E McDowell Rd
                    Scottsdale, AZ 85257



                    Pro Rentals Sales
                    PO Box 5450
                    Kalispell, MT 59903



                    Pro Sales Inc
                    411 E 340 S
                    Jerome, ID 83338



                    Progressive Dairy Srvc Spply
                    485 S Idaho St
                    Wendell, ID 83355



                    PTG of Idaho, LLC
                    541 Arlen Dr.
                    Jerome, ID 83338



                    Quality Truss
                    21005 Highway 30
                    Filer, ID 83328



                    Rabo Agrifinance LLC
                    14767 North Outer 40 Road
                    Suite 400
                    Chesterfield, MO 63017



                    Rabo Agrifinance, Inc.
                    12443 Olive Blvd., Suite 5
                    Saint Louis, MO 63141
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                    Rangen
                    PO Box 706
                    Buhl, ID 83316



                    Receptor Food Group
                    PO Box 475
                    Rupert, ID 83350



                    RedRock Dairy
                    1130 E 3700 N
                    Buhl, ID 83316



                    Reed Farms
                    4296 N 2100 E
                    Filer, ID 83328



                    Reed Gibby
                    873 Pebble Dr.
                    Burley, ID 83318



                    Riveron RTS, LLC
                    PO Box 679265
                    Dallas, TX 75267-9265



                    Riverside Trailer
                    322 W Yakima
                    Jerome, ID 83338



                    Robert E. Williams
                    Williams, Meservy Larsen
                    PO Box 168
                    Jerome, ID 83338-0168



                    Robert E. Williams
                    Williams, Merservy Larsen
                    PO Box 168
                    Jerome, ID 83338-0168
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                    Rocky Mountain Agronomics
                    1912 W Main
                    Burley, ID 83318



                    Rocky Mountain Pharma
                    13159 Hanford-Armona Rd
                    Hanford, CA 93230-9395



                    Rogers Machinery
                    PO Box 35142
                    LB 1502
                    Seattle, WA 98124-5142



                    Rooster Capital IV LLC
                    5465 Mills Civic Pkwy,
                    Suite 201
                    West Des Moines, IA 50266



                    S O Mata Trucking LLC
                    365 E 27th St
                    Burley, ID 83318



                    S P Trucking LLC
                    3570 NW Foxtrotter Lane
                    Mountain Home, ID 83647



                    Safe Salt Supply
                    625 Gary St
                    Pocatello, ID 83201-7037



                    Sally F. and Mark Rose
                    212 N 200 W
                    Jerome, ID 83338



                    Sawtooth Law Offices PLLC
                    1101 W River St., Ste. 110
                    Boise, ID 83702-7067
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                    Schaeffer Mfg. Co.
                    PO Box 790100
                    Dept. 3518
                    Saint Louis, MO 63179-0100



                    Schilder Dairy
                    1164 E 3700 N
                    Buhl, ID 83316



                    Scholes Dermatology
                    PO Box 31001-3306
                    Pasadena, CA 91110-3306



                    Schow's Auto Parts
                    PO Box 94
                    Rupert, ID 83350



                    SeCon LLC
                    24829 Simplot Blvd
                    Wilder, ID 83676



                    Select Sires Mid America Inc
                    833 W 400 N
                    Logan, UT 84321



                    Sherwin Williams
                    1936 Kimberly Rd
                    Twin Falls, ID 83301



                    Signed Sealed Delivered
                    201 E Main St
                    Jerome, ID 83338



                    Silva Brothers
                    1202 E 4150 N
                    Buhl, ID 83316
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                    SiteOne Landscape
                    1773 Eldridge Ave
                    Twin Falls, ID 83301-7909



                    SKS EVC, LLC
                    Attn: Scott Stepenoff
                    20411 N 17th Way
                    Phoenix, AZ 85024



                    South View Dairy
                    PO Box 200
                    Wendell, ID 83355



                    ST Genetics
                    PO Box 842923
                    Dallas, TX 75284-2923



                    Standing 16 Ranch
                    335 W 300 N
                    Jerome, ID 83338



                    Standlee Premium Products
                    22349 Kimberly Rd
                    Ste E
                    Kimberly, ID 83341



                    Stapleman Veterinary LLC
                    799 W 200 N
                    Paul, ID 83347



                    Star Falls
                    Steven Doug Huettig
                    1908 E 1300 S
                    Hazelton, ID 83335



                    Star Falls Farms LLC
                    1908 E 1300 S
                    Hazelton, ID 83335
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                    State Insurance Fund
                    PO Box 990002
                    Boise, ID 83799-0002



                    Steel Ranch LLC
                    2597 E 1100 S
                    Hazelton, ID 83335-6215



                    Steven Huettig
                    1908 E 1300 S
                    Hazelton, ID 83335-5428



                    Stouder Holsteins
                    455 Bob Barton Rd
                    Jerome, ID 83338



                    Streamline Precision
                    120 S 100 W
                    Burley, ID 83318



                    Stukenholtz Laboratory
                    PO Box 353
                    Twin Falls, ID 83303-0353



                    Super Sort
                    4908 9th Ave SW
                    Watertown, SD 57201



                    Susan J. Millenkamp
                    471 N 300 W
                    Jerome, ID 83338



                    Synchrony Bank/Amazon
                    PO Box 960013
                    Orlando, FL 32896-0013
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                    T.L.K. Dairy Inc
                    650 N 2nd E
                    Mountain Home, ID 83647



                    Tacoma Screw Products
                    Attn: Accounts Receivable
                    2001 Center St
                    Tacoma, WA 98409-7895



                    Taqueria Tamazula Trucking
                    1842 Hansen Ave
                    Burley, ID 83318



                    The Dairy Solutions Group
                    396 Railway St
                    Jerome, ID 83338



                    Theodore Larsen
                    153 E. Main St.
                    Jerome, ID 83338-2332



                    Thomas Petroleum LLC
                    445 E 5th St N
                    Burley, ID 83318



                    Tillage Management INC
                    21346 Rd 140
                    Tulare, CA 93274



                    TMG Services
                    3216 E Portland Ave
                    Tacoma, WA 98404



                    ToreUp
                    PO Box 1181
                    Twin Falls, ID 83303
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                    Toshiba Financial Svcs
                    PO Box 41602
                    Philadelphia, PA 19101-1602



                    Total Waste Management
                    PO Box 309
                    Heyburn, ID 83336



                    Triple B Farms, LLC
                    131 Broncho Rd
                    Blackfoot, ID 83221



                    Triple C Farms, L.L.C.
                    474 S. 500 W
                    Jerome, ID 83338



                    True West Beef
                    6026 US-93
                    Jerome, ID 83338



                    TSK Enterprises
                    255 Blue Lakes Blvd N
                    PMB 617
                    Twin Falls, ID 83301



                    Twin Falls Canal Co.
                    PO Box 326
                    Twin Falls, ID 83303



                    Tyche Ag, LLC
                    PO Box 123
                    Rupert, ID 83350



                    Udder Health Systems
                    4455 S Meridian Rd
                    Meridian, ID 83642
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                    Udder Tech
                    2520 151st Ct W
                    Rosemount, MN 55068



                    ULINE
                    PO Box 88741
                    Chicago, IL 60680-1741



                    United Electric Co-op
                    1330 21st St
                    Heyburn, ID 83336



                    United Oil
                    PO Box 94591
                    Seattle, WA 98124-6891



                    United Wholesale Mortgage
                    PO Box 54040
                    Los Angeles, CA 90054-0040



                    V M Trucking LLC
                    259 Diana Dr
                    Burley, ID 83318



                    Valley Beef
                    3051 S. 2000 E.
                    Wendell, ID 83355



                    Valley Co-op Tanker
                    2114 N 20th St
                    Nampa, ID 83687



                    Valley Wide COOP
                    2114 N 20th St
                    Nampa, ID 83687
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                    Valley Wide Coop. Energy
                    837 W Main St.
                    Jerome, ID 83338



                    Vanden Bosch Inc
                    PO Box 543
                    Jerome, ID 83338



                    Vandyk Dairy
                    270 N 500 W
                    Jerome, ID 83338



                    Vantage Dairy Supplies LLC
                    799 W 200 N
                    Paul, ID 83347



                    Viserion Grain LLC
                    c/o Gibby Group
                    134 E Highway 81
                    Burley, ID 83318



                    Viserion Grain, LLC
                    44 Cook St. Ste. 320
                    Denver, CO 80206



                    Viterra Grain LLC
                    1111 Bedke Blvd
                    Burley, ID 83318



                    Wada Farms Partnership
                    326 S 1400 W
                    Pingree, ID 83262



                    WAG Services Inc
                    8121 W Harrison St
                    Tolleson, AZ 85353
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                    WageWorks Inc
                    PO Box 8363
                    Pasadena, CA 91109-8363



                    Watts Hydraulic Repair
                    1982 Floral Ave
                    Twin Falls, ID 83301



                    Webb Nursery
                    136 Eastland Dr
                    Twin Falls, ID 83301



                    Westec Concrete Cutting LLC
                    53 N 200 W
                    Jerome, ID 83338



                    Westec Storage
                    53 N 200 W
                    Jerome, ID 83338



                    Western States Cat
                    PO Box 3805
                    Seattle, WA 98124-3805



                    Western States Equipment Co.
                    3085 Kimberly Rd Suite A
                    Twin Falls, ID 83301



                    Western Trailers
                    PO Box 5598
                    Boise, ID 83705



                    Western Truck and Equipment
                    11 W 300 S
                    PO Box 563
                    Jerome, ID 83338
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                    Western Waste Services
                    PO Box 714
                    Jerome, ID 83338



                    Westway Feed Products
                    365 Canal St
                    Ste 2929
                    New Orleans, LA 70130



                    William J. Millenkamp
                    471 N 300 W
                    Jerome, ID 83338



                    Wisconsin Vet Diagnostic Lab
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